












Dismissed and Memorandum Opinion filed August 20,
2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00647-CR

____________

&nbsp;

DAVID JOHN GALLAGHER,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
351st District Court

Harris County, Texas

Trial Court Cause No. 1197438

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant pled guilty to the offense of assault and was
sentenced on June 12, 2009, to confinement for five years in the Texas
Department of Criminal Justice, Institutional Division.&nbsp; No timely motion for
new trial was filed.&nbsp; Appellant=s notice of appeal was not filed until July 16, 2009.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new trial.&nbsp; See
Tex. R. App. P. 26.2(a)(1).&nbsp; A
notice of appeal that complies with the requirements of Rule 26 is essential to
vest the court of appeals with jurisdiction.&nbsp; Slaton v. State, 981
S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp; If an appeal is not timely perfected,
a court of appeals does not obtain jurisdiction to address the merits of the
appeal.&nbsp; Under those circumstances it can take no action other than to dismiss
the appeal.&nbsp; Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Panel consists of Justices
Anderson, Guzman, and Boyce.

Do Not Publish C Tex. R. App. P. 47.2(b).

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